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                   IN THE UNITED STATES DISTRICT COUR
                        NORTHERN DISTRICT OF TEXA
                            FORT WORTH DIVISIO~                  AUG 1 1! 2018

                                                          CLERK, U.S. DISTRICT COURT
BAO-QUOC TRAN NGUYEN,                  §                    BY--=~--­
                                       §                             Deputy
             Petitioner,               §
                                       §
vs.                                    §     NO. 4:18-CV-662-A
                                       §
BILL WAYBOURN,                         §
                                       §
             Respondent.               §



                                     ORDER

        Came on for consideration the application of Bao-Quoc Tran

Nguyen ("Nguyen")      for a writ of habeas corpus under 28 U.S.C.

§   2241.   Nguyen's application states that he is a pretrial

detainee challenging his confinement in Tarrant County Jail for

contempt.     The court, having reviewed the petition, finds that it

should be dismissed for failure to exhaust state remedies.

       A pretrial detainee confined in state custody must exhaust

the state remedies available to him before utilizing             §   2241.

Montano v. Texas, 867 F.3d 540, 542-43           (5th Cir. 2017); Dickerson

v. Louisiana, 816 F.2d 220, 225        (5th Cir. 1987).      Nguyen admits

in his application that he filed a habeas petition in state court

on July 11, 2018, in which he challenged his contempt-related

confinement on the same grounds raised in the above-captioned

action, and that such petition is still pending in state court.
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Doc. 1     1 at 4-6.         Because that petition is still pending before

the state court in which it was filed, and because Nguyen has not

demonstrated that "the available . .                           remedies either are

unavailable or wholly inappropriate to the relief sought, or

 [that an] attempt to exhaust such remedies would itself be a

patently futile course of action," Fuller v. Rich, 11 F.3d 61,                                        62

 (5th Cir. 1994), the court finds that Nguyen's application should

be dismissed.

         Therefore,

         The court ORDERS that the application of Nguyen for writ of

habeas corpus pursuant to 28 U.S.C.                       §   2241 be, and is hereby,

dismissed.

         SIGNED August 14, 2018.




          'The "Doc._" reference is to the number assigned to the referenced item on the docket in this
acti.on, No. 4: 18-CV -662-A.

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